            Case 13-50728-jrs             Doc 116    Filed 01/09/20 Entered 01/09/20 15:45:57               Desc
                                                         Page 1 of 24



                                            UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF GEORGIA
                                                    ATLANTA DIVISION

       In re: JOVA/DANIELS/BUSBY                             §     Case No. 13-50728-JRS
              INCORPORATED                                   §
                                                             §
                                                             §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              S. Gregory Hays, chapter 7 trustee, submits this Final Account, Certification that the Estate has been
      Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $8,817.23                               Assets Exempt: N/A
      (without deducting any secured claims)

      Total Distributions to Claimants:    $110,922.56             Claims Discharged
                                                                   Without Payment: N/A


      Total Expenses of Administration:     $188,421.18




                3) Total gross receipts of $309,913.33 (see Exhibit 1), minus funds paid to the debtor and third
      parties of $10,569.59 (see Exhibit 2), yielded net receipts of $299,343.74 from the liquidation of the property of
      the estate, which was distributed as follows:




UST Form 101-7-TDR ( 10 /1/2010)
            Case 13-50728-jrs         Doc 116      Filed 01/09/20 Entered 01/09/20 15:45:57                 Desc
                                                       Page 2 of 24



                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                    $300,374.66          $304,590.31          $304,590.31          $110,922.56
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00          $221,716.15          $221,716.15          $188,421.18


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                              $156,373.35           $76,438.79           $76,438.79                 $0.00

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                            $1,359,420.53          $944,660.59          $944,660.59                 $0.00


   TOTAL DISBURSEMENTS                         $1,816,168.54        $1,547,405.84        $1,547,405.84          $299,343.74




                 4) This case was originally filed under chapter 7 on 01/14/2013. The case was pending for 83
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        12/03/2019                        By: /s/ S. Gregory Hays
                                                                          Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-7-TDR ( 10 /1/2010)
               Case 13-50728-jrs               Doc 116         Filed 01/09/20 Entered 01/09/20 15:45:57            Desc
                                                                   Page 3 of 24




                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1             RECEIVED

 Tax withdrawn from 401(k) distribution - Mark Bohrer. See payment to Dept of                   1280-000                    $2,167.62
 Treasury on 5/1/13.
 Royal Bank of Canada, #Toronto $5,997.27 (CAD) E                                               1129-000                    $6,308.66

 Sales Taxes Collected from Sale of Personal Property                                           1290-000                    $3,571.84

 Avoidance Actions - Adversary 15-05029 (Abernathy et al)                                       1241-000                   $18,475.65

 2008 GMC Acadia VIN771940073552002                                                             1129-000                    $8,100.00

 Avoidance Actions - Adversary 15-05026 (Aetna)                                                 1241-000                   $14,000.00

 Avoidance Actions - Adversary 15-05025 (Travelers)                                             1241-000                    $7,500.00

 Tax withdrawn from 401(k) distribution - Erin Petre. See payment to Dept of                    1280-000                     $502.18
 Treasury on 5/1/13.
 Tax withdrawn from 401(k) distribution - Donna Hall-McDowell. See payment                      1280-000                     $644.25
 to Dept of Treasury on 5/1/13.
 SunTrust Bank #0008840547270, Atlanta, GA                                                      1129-000                   $25,994.07

 Office Equipment, furnishings - See Exhibit B.4                                                1129-000                   $58,550.00

 Avoidance Actions - Adversary 15-05027 (Daniels et al)                                         1241-000                   $21,250.00

 Accounts Receivable                                                                            1121-000                  $135,593.52

 Tax withdrawn from 401(k) distribution - Sara Singleton. See payment to Dept                   1280-000                      $41.92
 of Treasury on 5/1/13.
 Tax withdrawn from 401(k) distribution - Melissa King. See payment to Dept of                  1280-000                     $214.15
 Treasury on 5/1/13.
 Tax withdrawn from 401(k) distribution - Katherine Lowrey. See payment to                      1280-000                     $111.19
 Dept of Treasury on 5/1/13.
 Tax withdrawn from 401(k) distribution - Jessica Finnity. See payment to Dept                  1280-000                     $223.28
 of Treasury on 5/1/13.
 Buyers Premium paid to Trustee's auctioneer                                                    1180-000                    $6,665.00

                             TOTAL GROSS RECEIPTS                                                                         $309,913.33

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




UST Form 101-7-TDR ( 10 /1/2010)
             Case 13-50728-jrs           Doc 116        Filed 01/09/20 Entered 01/09/20 15:45:57                     Desc
                                                            Page 4 of 24




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                           UNIFORM                    $ AMOUNT
   PAYEE                                             DESCRIPTION
                                                                                          TRAN. CODE                     PAID

 Auction Management Corporation       Auctioneer Buyer's Premium for Sale of                8500-002                          $6,665.00
                                      personal property. Paid per Order, Dkt # 52.
 Department of the Treasury           EFT for 945 Return for 2013. Per Order,               8500-002                          $3,904.59
                                      docket # 48. See funds from UBS deposited
                                      on 5/29/13.

 TOTAL FUNDS PAID TO DEBTOR
                                                                                                                             $10,569.59
       & THIRD PARTIES




EXHIBIT 3 - SECURED CLAIMS



                                        UNIFORM            CLAIMS
    Claim                                                                        CLAIMS                 CLAIMS                CLAIMS
               CLAIMANT                  TRAN.           SCHEDULED
     NO.                                                                        ASSERTED               ALLOWED                 PAID
                                         CODE          (from Form 6D)


              Wells Fargo               4210-000                      NA              $29,194.89        $29,194.89           $29,194.89

              Wells Fargo Bank          4210-000                      NA              $10,981.03        $10,981.03           $10,981.03

              Wells Fargo Bank          4210-000                      NA              $12,870.20        $12,870.20           $12,870.20

     1S       Georgia Department of     4800-000                      NA              $12,839.20        $12,839.20                $0.00
              Labor
     20       Wells Fargo Bank,         4210-000            $300,374.66              $238,704.99       $238,704.99           $57,876.44
              N.A.,successor by
              merger to Wachovia
              Bank, N.A.,

                TOTAL SECURED                               $300,374.66              $304,590.31       $304,590.31          $110,922.56




UST Form 101-7-TDR ( 10 /1/2010)
             Case 13-50728-jrs          Doc 116   Filed 01/09/20 Entered 01/09/20 15:45:57      Desc
                                                      Page 5 of 24




EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM      CLAIMS          CLAIMS         CLAIMS                CLAIMS
   PAYEE                                TRAN.     SCHEDULED        ASSERTED       ALLOWED                 PAID
                                        CODE

 Trustee, Fees - S. Gregory Hays       2100-000            NA        $18,217.19    $18,217.19           $14,796.89

 Trustee, Expenses - S. Gregory        2200-000            NA          $652.59       $652.59              $530.06
 Hays
 Accountant for Trustee, Fees - Hays   3310-000            NA        $85,168.00    $85,168.00           $69,177.55
 Financial Consulting, LLC
 Accountant for Trustee, Expenses -    3320-000            NA         $3,274.35     $3,274.35            $2,659.58
 Hays Financial Consulting, LLC
 Auctioneer Fees - Auction             3610-000            NA         $3,332.50     $3,332.50            $3,332.50
 Management Corporation
 Auctioneer Expenses - Auction         3620-000            NA         $5,777.00     $5,777.00            $5,777.00
 Management Corp
 Auctioneer Expenses - Auction         3620-000            NA          $150.00       $150.00              $150.00
 Management Corporation
 Charges, U.S. Bankruptcy Court        2700-000            NA         $1,172.00     $1,172.00             $951.95

 Administrative Rent - Colony          2410-000            NA        $10,000.00    $10,000.00           $10,000.00
 Square (Colony-Midtown), LP
 Insurance - Travelers Indemnity       2420-750            NA             $0.00         $0.00                $0.00
 Company
 Banking and Technology Service        2600-000            NA         $5,906.95     $5,906.95            $5,906.95
 Fee - Rabobank, N.A.
 Other State or Local Taxes (post-     2820-000            NA         $3,571.84     $3,571.84            $3,571.84
 petition) - Georgia Department of
 Revenue by AMC
 Other Chapter 7 Administrative        2990-000            NA          $495.00       $495.00              $495.00
 Expenses - Cecil McElroy
 Attorney for Trustee Fees (Other      3210-000            NA        $15,000.00    $15,000.00           $15,000.00
 Firm) - James C. Frenzel, P.C.
 Attorney for Trustee Fees (Other      3210-000            NA        $68,522.00    $68,522.00           $55,656.86
 Firm) - Arnall Golden Gregory LLP
 Attorney for Trustee Expenses         3220-000            NA          $147.93       $147.93              $147.93
 (Other Firm) - James C. Frenzel,
 P.C.
 Attorney for Trustee Expenses         3220-000            NA          $328.80       $328.80              $267.07
 (Other Firm) - Arnall Golden
 Gregory LLP
 TOTAL CHAPTER 7 ADMIN. FEES
                                                           NA       $221,716.15   $221,716.15          $188,421.18
        AND CHARGES




UST Form 101-7-TDR ( 10 /1/2010)
           Case 13-50728-jrs       Doc 116   Filed 01/09/20 Entered 01/09/20 15:45:57   Desc
                                                 Page 6 of 24




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                         UNIFORM          CLAIMS            CLAIMS     CLAIMS            CLAIMS
        PAYEE
                        TRAN. CODE      SCHEDULED          ASSERTED   ALLOWED             PAID

                                                    None




UST Form 101-7-TDR ( 10 /1/2010)
             Case 13-50728-jrs        Doc 116    Filed 01/09/20 Entered 01/09/20 15:45:57           Desc
                                                     Page 7 of 24




 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                       CLAIMS
                                      UNIFORM        CLAIMS
                                                                      ASSERTED         CLAIMS              CLAIMS
 CLAIM NO.         CLAIMANT            TRAN.      SCHEDULED
                                                                   (from Proofs of    ALLOWED               PAID
                                       CODE      (from Form 6E)
                                                                        Claim)

     1P      Georgia Department of    5800-000        $20,330.75          $2,212.50     $2,212.50             $0.00
             Labor

     2       FULTON COUNTY            5800-000               NA           $2,980.31     $2,980.31             $0.00
             TAX
             COMMISSIONERS
             OFFICE

     4P      Internal Revenue         5800-000        $12,248.27         $24,470.80    $24,470.80             $0.00
             Service

     13      Michael Rindsberg        5300-000         $5,834.05          $6,175.05     $6,175.05             $0.00


    16P      Andrew Dell              5300-000        $11,725.00         $12,475.00    $12,475.00             $0.00


     17      Duane Behne              5300-000         $9,268.55          $9,268.55     $9,268.55             $0.00


     21      Sara Singleton           5300-000         $2,290.92          $1,619.24     $1,619.24             $0.00


    23P      Stanley L. Daniels       5300-000         $9,445.30              $0.00         $0.00             $0.00


     24      Livia N. Klein           5300-000         $2,617.15          $2,617.15     $2,617.15             $0.00


     27      Octavian Tudora          5300-000         $3,155.02          $6,011.68     $6,011.68             $0.00


     29      David C. Fairley         5300-000        $11,725.00          $8,411.52     $8,411.52             $0.00


     30      New York State           5800-000               NA             $196.99      $196.99              $0.00
             Department of Taxation
             and Finance

    N/F      Claudia W Gimson         5300-000         $4,655.23                NA            NA                NA


    N/F      David C. Fairley         5400-000           $650.00                NA            NA                NA


    N/F      Diane S. Freeman         5400-000         $3,000.14                NA            NA                NA


    N/F      Diane S. Freeman         5300-000           $726.25                NA            NA                NA


    N/F      Elizabeth A. Jones       5300-000         $2,447.92                NA            NA                NA



UST Form 101-7-TDR ( 10 /1/2010)
            Case 13-50728-jrs       Doc 116    Filed 01/09/20 Entered 01/09/20 15:45:57      Desc
                                                   Page 8 of 24



    N/F     Emily Finau             5300-000        $2,998.34           NA             NA             NA


    N/F     Georgia Department of   5800-000        $1,296.70           NA             NA             NA
            Revenue

    N/F     Jeffrey C. Whelan       5300-000        $5,035.55           NA             NA             NA


    N/F     John R. Johnston        5300-000       $10,838.95           NA             NA             NA


    N/F     John R. Johnston        5400-000        $2,125.00           NA             NA             NA


    N/F     Judy S. Laverty         5300-000        $2,444.54           NA             NA             NA


    N/F     Julie E. Cannon         5300-000        $4,313.26           NA             NA             NA


    N/F     Karen L. League         5400-000        $1,150.30           NA             NA             NA


    N/F     Karen L. League         5300-000       $11,725.00           NA             NA             NA


    N/F     Michael Rindsberg       5400-000         $341.00            NA             NA             NA


    N/F     Rafael E. Diaz          5300-000        $6,831.28           NA             NA             NA


    N/F     Tricia C. Szurgot       5300-000        $4,211.68           NA             NA             NA


    N/F     William David Mackey    5300-000        $2,292.20           NA             NA             NA


    N/F     William David Mackey    5400-000         $650.00            NA             NA             NA


           TOTAL PRIORITY
          UNSECURED CLAIMS                        $156,373.35    $76,438.79     $76,438.79          $0.00




UST Form 101-7-TDR ( 10 /1/2010)
             Case 13-50728-jrs       Doc 116    Filed 01/09/20 Entered 01/09/20 15:45:57           Desc
                                                    Page 9 of 24




 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                      CLAIMS
                                     UNIFORM        CLAIMS
                                                                     ASSERTED         CLAIMS              CLAIMS
 CLAIM NO.         CLAIMANT           TRAN.      SCHEDULED
                                                                  (from Proofs of    ALLOWED               PAID
                                      CODE      (from Form 6F)
                                                                       Claim)

     3       BAA Mechanical          7100-000        $26,833.24         $31,723.01    $31,723.01             $0.00
             Engineers Inc.

     4U      Internal Revenue        7300-000               NA           $4,290.86     $4,290.86             $0.00
             Service

     5       McDonough Bolyard       7100-000         $2,160.00          $2,160.00     $2,160.00             $0.00
             Peck, Inc.

     6       Uzun & Case             7100-000         $6,320.00          $6,000.00     $6,000.00             $0.00
             Engineers, LLC

     7       Gabler - Youngston      7100-000         $7,180.21          $6,512.65     $6,512.65             $0.00
             Inc.

     8       Acadia Coffee Service   7100-000         $1,031.95            $717.21      $717.21              $0.00
             Inc.

     9       AEC Inc.                7100-000         $3,987.40          $7,992.40     $7,992.40             $0.00


     10      Merck & Hill            7100-000         $6,480.00          $6,480.00     $6,480.00             $0.00
             Consultants Inc.

     11      SunTrust Bank           7100-000               NA           $1,875.45     $1,875.45             $0.00


     12      Andrew Dell             7100-000               NA               $0.00         $0.00             $0.00


     14      Gray & Postell Inc.     7100-000        $30,969.29         $31,884.16    $31,884.16             $0.00


     15      LBYD, Inc               7100-000        $34,656.00         $34,656.00    $34,656.00             $0.00


    16U      Andrew Dell             7100-000         $2,359.15          $1,609.15     $1,609.15             $0.00


     18      Barry R Barsh &         7100-000        $10,346.81         $18,418.45    $18,418.45             $0.00
             Associates Inc.

     19      Morrison Hershfield     7100-000        $11,500.00         $13,500.00    $13,500.00             $0.00
             Corporation

    22U      Travelers Indemnity     7100-000        $13,240.68              $0.00         $0.00             $0.00
             Company

    23U      Stanley L. Daniels      7100-000               NA               $0.00         $0.00             $0.00


UST Form 101-7-TDR ( 10 /1/2010)
           Case 13-50728-jrs           Doc 116    Filed 01/09/20 Entered 01/09/20 15:45:57      Desc
                                                     Page 10 of 24



     25     Colony Square, GP          7100-000      $165,998.63   $493,064.66    $493,064.66          $0.00


     26     Foil Wyatt                 7100-000       $64,988.24   $160,961.74    $160,961.74          $0.00


     28     WOG, LLC                   7100-000      $109,339.20   $109,339.20    $109,339.20          $0.00


     31     American Express           7100-000        $2,345.35     $4,417.22      $4,417.22          $0.00
            Centurion Bank

     32     Chase Bank USA, N.A.       7100-000        $3,090.31     $9,058.43      $9,058.43          $0.00


    N/F     AFLAC Inc.                 7100-000         $776.42            NA             NA             NA


    N/F     AHA Consulting             7100-000        $4,841.01           NA             NA             NA
            Engineers Inc

    N/F     AIA-Georgia                7100-000         $250.00            NA             NA             NA
            Association

    N/F     AT&T                       7100-000            $0.00           NA             NA             NA


    N/F     Affiliated Engineers,      7100-000       $57,000.00           NA             NA             NA
            Inc.

    N/F     Andrew Dell                7100-000         $117.72            NA             NA             NA


    N/F     Artlite Office Supply Co   7100-000         $936.40            NA             NA             NA


    N/F     Babush Neiman              7100-000        $3,750.00           NA             NA             NA
            Kornman & Johnson

    N/F     Bank of America VISA       7100-000       $33,381.25           NA             NA             NA


    N/F     Barnett Consulting         7100-000        $5,645.91           NA             NA             NA
            Engineers Inc.

    N/F     Barrett Woodyard &         7100-000        $8,500.00           NA             NA             NA
            Associates Inc

    N/F     Benefit Alternatives Inc   7100-000         $565.25            NA             NA             NA


    N/F     Camacho Associates         7100-000        $3,398.40           NA             NA             NA
            Inc

    N/F     Casey Design Studio        7100-000        $2,500.00           NA             NA             NA
            LLC

    N/F     Central Parking            7100-000       $28,770.00           NA             NA             NA
            System




UST Form 101-7-TDR ( 10 /1/2010)
           Case 13-50728-jrs           Doc 116    Filed 01/09/20 Entered 01/09/20 15:45:57   Desc
                                                     Page 11 of 24



    N/F     Chamberlain Hrdlicka       7100-000         $850.37           NA            NA          NA
            White Williams P.C

    N/F     City of Atlanta            7100-000         $400.00           NA            NA          NA


    N/F     Colony Square, L.P         7100-000           $0.00           NA            NA          NA


    N/F     Consultant Service         7100-000       $3,565.00           NA            NA          NA
            Company

    N/F     CoreNet Global Inc         7100-000       $3,000.00           NA            NA          NA


    N/F     Cornerstone Design         7100-000      $10,700.00           NA            NA          NA
            Services

    N/F     Cypress                    7100-000             NA            NA            NA          NA
            Communications Inc.

    N/F     David C. Fairley           7100-000       $1,662.94           NA            NA          NA


    N/F     EDI Ltd                    7100-000       $8,500.00           NA            NA          NA


    N/F     Eberly & Associates,       7100-000       $2,100.00           NA            NA          NA
            Inc.

    N/F     Elizabeth A. Jones         7100-000          $23.48           NA            NA          NA


    N/F     Emily Business             7100-000         $738.40           NA            NA          NA
            Systems Inc

    N/F     Equitrac Corporation       7100-000         $204.15           NA            NA          NA


    N/F     F H Cann & Associates      7100-000       $3,829.36           NA            NA          NA


    N/F     Federal Express Corp       7100-000         $599.30           NA            NA          NA


    N/F     Full Sail Partners, Ltd.   7100-000       $4,224.31           NA            NA          NA


    N/F     Georgia Civil Inc.         7100-000      $25,367.00           NA            NA          NA


    N/F     Holland & Knight           7100-000       $8,214.11           NA            NA          NA
            LLPHolland & Knight
            LLPHolland & Knight
            LLPHolland & Knight
            LLPHolland & Knight
            LLP

    N/F     J W Robinson &             7100-000         $900.00           NA            NA          NA
            Associates Inc




UST Form 101-7-TDR ( 10 /1/2010)
           Case 13-50728-jrs          Doc 116    Filed 01/09/20 Entered 01/09/20 15:45:57   Desc
                                                    Page 12 of 24



    N/F     John Grogan Design        7100-000        $2,861.00          NA            NA          NA
            Inc.

    N/F     John R. Johnston          7100-000          $24.27           NA            NA          NA


    N/F     Jordan & Skala            7100-000         $900.00           NA            NA          NA
            Engineers IncVVVVV

    N/F     Judy S. Laverty           7100-000        $2,614.00          NA            NA          NA


    N/F     Karen L. League           7100-000        $2,963.70          NA            NA          NA


    N/F     Keystone Press, Inc.      7100-000        $2,086.20          NA            NA          NA


    N/F     Konica Minolta Bus.       7100-000        $2,358.75          NA            NA          NA
            Solutions USA Inc

    N/F     Kurt Swensson Inc         7100-000         $795.00           NA            NA          NA


    N/F     Leadership Atlanta        7100-000         $200.00           NA            NA          NA


    N/F     Livia N. Klein            7100-000          $10.22           NA            NA          NA


    N/F     Long Engineering Inc.     7100-000       $12,020.00          NA            NA          NA


    N/F     MailFinance               7100-000        $2,333.22          NA            NA          NA


    N/F     Maxair Mechanical Inc     7100-000         $600.00           NA            NA          NA


    N/F     MetLife Insurance         7100-000        $1,220.99          NA            NA          NA
            Company

    N/F     Michael Rindsberg         7100-000        $8,376.21          NA            NA          NA


    N/F     Minick Engineering Inc.   7100-000      $124,198.00          NA            NA          NA


    N/F     Morrison Hershfield       7100-000        $1,017.00          NA            NA          NA
            Limited

    N/F     NPR Inc                   7100-000        $1,449.00          NA            NA          NA


    N/F     National Life of          7100-000        $3,849.21          NA            NA          NA
            Vermont

    N/F     Nottingham Brook &        7100-000        $2,035.00          NA            NA          NA
            Pennington Inc

    N/F     Office Depot              7100-000        $1,424.79          NA            NA          NA



UST Form 101-7-TDR ( 10 /1/2010)
           Case 13-50728-jrs          Doc 116    Filed 01/09/20 Entered 01/09/20 15:45:57   Desc
                                                    Page 13 of 24



    N/F     PlanBags.com              7100-000          $47.86           NA            NA          NA


    N/F     Prudential Group Life &   7100-000         $665.87           NA            NA          NA
            Disability Ins

    N/F     Pruitt Eberly Stone Inc   7100-000       $14,487.20          NA            NA          NA


    N/F     Red C, Inc.               7100-000        $2,000.00          NA            NA          NA


    N/F     ReproProducts             7100-000        $3,537.43          NA            NA          NA


    N/F     RightClick Networks       7100-000        $3,825.00          NA            NA          NA
            LLC

    N/F     Robert W. Woodruff        7100-000         $500.00           NA            NA          NA
            Arts Center, Inc.

    N/F     Roy Lee Abernathy         7100-000        $3,088.54          NA            NA          NA


    N/F     Southern Binding          7100-000         $189.26           NA            NA          NA
            Systems Inc

    N/F     Stanley L. Daniels        7100-000        $1,962.49          NA            NA          NA


    N/F     Stanley L. Daniels        7100-000       $36,455.92          NA            NA          NA


    N/F     Stanley L. Daniels        7100-000      $344,460.74          NA            NA          NA


    N/F     Stanley L. Daniels        7100-000       $22,876.75          NA            NA          NA


    N/F     The Greenway Group        7100-000        $6,640.00          NA            NA          NA
            Inc

    N/F     Thomas Watkins            7100-000         $713.37           NA            NA          NA
            Photography, LLC

    N/F     Trilogyfm                 7100-000        $2,276.30          NA            NA          NA


    N/F     U S Cost Inc              7100-000        $5,000.00          NA            NA          NA


    N/F     University Publications   7100-000         $595.00           NA            NA          NA


    N/F     University Sports         7100-000        $1,975.00          NA            NA          NA
            Publications (Canada)

    N/F     Van Winkle &              7100-000        $5,400.00          NA            NA          NA
            Company, Inc

    N/F     Verizon Wireless          7100-000            $0.00          NA            NA          NA


UST Form 101-7-TDR ( 10 /1/2010)
           Case 13-50728-jrs       Doc 116    Filed 01/09/20 Entered 01/09/20 15:45:57      Desc
                                                 Page 14 of 24



    N/F     Yawn Land Surveys      7100-000       $1,250.00            NA             NA             NA
            LLC

            TOTAL GENERAL
           UNSECURED CLAIMS                    $1,359,420.53   $944,660.59    $944,660.59          $0.00




UST Form 101-7-TDR ( 10 /1/2010)
                     Case 13-50728-jrs                         Doc 116        Filed 01/09/20 Entered 01/09/20 15:45:57                                 Desc
                                                                                 Page 15 of 24
                                                                Form 1
                                                                                                                                                           Exhibit 8
                                            Individual Estate Property Record and Report                                                                   Page: 1

                                                             Asset Cases
Case No.:    13-50728-JRS                                                                        Trustee Name:      (300320) S. Gregory Hays
Case Name:         JOVA/DANIELS/BUSBY INCORPORATED                                               Date Filed (f) or Converted (c): 01/14/2013 (f)
                                                                                                 § 341(a) Meeting Date:       02/13/2013
For Period Ending:         12/03/2019                                                            Claims Bar Date:      08/21/2013

                                       1                                  2                     3                      4                    5                   6

                           Asset Description                           Petition/        Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)             Unscheduled       (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                        Values                Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                      Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                                 and Other Costs)

    1       Petty cash/ Coke machine funds                                    59.88                     59.88                                   0.00                         FA

    2       SunTrust Bank #0008840547270,                               25,994.07                   25,994.07                              25,994.07                         FA
            Atlanta, GA

    3       Royal Bank of Canada, #Toronto                                6,034.26                   6,034.26                               6,308.66                         FA
            $5,997.27 (CAD) E

    4       Wells Fargo Bank #2000820335063,                                   0.00                      0.00                                   0.00                         FA
            Atlanta, GA

    5       Cypress Communications                                        2,038.00                   2,038.00                                   0.00                         FA

    6       Household Goods - See attached Exhibit                       Unknown                         0.00                                   0.00                         FA
            B.4
            See other tangible personal property; assets # 7, 12 &
            13, which were sold at auction. Auction Proceeds
            recorded under asset # 12.

    7       Assorted books and pictures.                                 Unknown                         0.00                                   0.00                         FA
            See other tangible personal property; assets # 6, 12 &
            13, which were sold at auction. Auction Proceeds
            recorded under asset # 12.

    8       National Life Insurance of Vermont - SLD                      4,043.28                   4,043.28                                   0.00                         FA
            AXA Equ

    9       FWAJDB, LLLP                                                       0.00                      0.00                                   0.00                         FA

   10       Accounts Receivable                                        507,788.52                507,788.52                             135,593.52                           FA

   11       2008 GMC Acadia VIN771940073552002                           Unknown                     8,910.00                               8,100.00                         FA

   12       Office Equipment, furnishings - See                          Unknown                    64,405.00                              58,550.00                         FA
            Exhibit B.4
            See other tangible personal property; assets # 6, 7 &
            13, which were sold at auction.

   13       Machinery, fixtures & Equipment -See                         Unknown                         0.00                                   0.00                         FA
            Exhibit B.4
            See other tangible personal property; assets # 6, 7 &
            12, which were sold at auction. Auction Proceeds
            recorded under asset # 12.

   14       Credit from SBS Associates Inc.                               2,593.00                   2,593.00                                   0.00                         FA

   15       Credit from AT&T                                                  83.07                     83.07                                   0.00                         FA

   16*      Avoidance Actions - Adversary 15-05025                             0.00                  7,500.00                               7,500.00                         FA
            (Travelers) (u) (See Footnote)

   17*      Avoidance Actions - Adversary 15-05026                             0.00                 10,000.00                              14,000.00                         FA
            (Aetna) (u) (See Footnote)

   18*      Avoidance Actions - Adversary 15-05027                             0.00                 17,500.00                              21,250.00                         FA
            (Daniels et al) (u) (See Footnote)

   19*      Avoidance Actions - Adversary 15-05029                             0.00                 15,000.00                              18,475.65                         FA
            (Abernathy et al) (u) (See Footnote)


UST Form 101-7-TDR ( 10 /1/2010)
                   Case 13-50728-jrs                       Doc 116       Filed 01/09/20 Entered 01/09/20 15:45:57                                Desc
                                                                            Page 16 of 24
                                                           Form 1
                                                                                                                                                      Exhibit 8
                                       Individual Estate Property Record and Report                                                                   Page: 2

                                                        Asset Cases
Case No.:    13-50728-JRS                                                                  Trustee Name:      (300320) S. Gregory Hays
Case Name:        JOVA/DANIELS/BUSBY INCORPORATED                                          Date Filed (f) or Converted (c): 01/14/2013 (f)
                                                                                           § 341(a) Meeting Date:       02/13/2013
For Period Ending:       12/03/2019                                                        Claims Bar Date:      08/21/2013

                                   1                                 2                    3                      4                   5                     6

                           Asset Description                     Petition/        Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)       Unscheduled       (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                  Values                Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                           and Other Costs)

   20       Sales Taxes Collected from Sale of                           0.00                 3,571.84                               3,571.84                           FA
            Personal Property (u)

   20       Assets Totals (Excluding unknown values)            $548,634.08               $675,520.92                           $299,343.74                       $0.00


        RE PROP# 16          Settled for $7,500. Settlement approved by Court per Order (Dkt # 87).

        RE PROP# 17          Settled for $14,000. Settlement approved by Court per Order (Dkt # 76).

        RE PROP# 18          Settled for a total of $21,250. Citibank settlement approved by Court per Order (Dkt # 85). Settlements with Stanley Daniels
                             approved by Order (Dkt #93) and Regions Bank by Order (Dkt # 94)..
        RE PROP# 19          Settled for a total of $18,475.65. Settlements approved by Court per Order (Dkt # 72).




 Major Activities Affecting Case Closing:




 Initial Projected Date Of Final Report (TFR): 12/31/2014                       Current Projected Date Of Final Report (TFR):            08/20/2019 (Actual)




UST Form 101-7-TDR ( 10 /1/2010)
                     Case 13-50728-jrs                 Doc 116         Filed 01/09/20 Entered 01/09/20 15:45:57                                          Desc
                                                                          Page 17 of 24
                                                            Form 2                                                                                       Exhibit 9
                                                                                                                                                         Page: 1
                                            Cash Receipts And Disbursements Record
Case No.:              13-50728-JRS                                       Trustee Name:                      S. Gregory Hays (300320)
Case Name:             JOVA/DANIELS/BUSBY                                 Bank Name:                         Mechanics Bank
                       INCORPORATED                                       Account #:                         ******1766 Checking Account
Taxpayer ID #:         **-***1002                                         Blanket Bond (per case limit): $30,203,000.00
For Period Ending: 12/03/2019                                             Separate Bond (if applicable): N/A

    1          2                        3                                        4                                5                       6                        7

  Trans.    Check or      Paid To / Received From          Description of Transaction            Uniform       Deposit              Disbursement          Account Balance
   Date      Ref. #                                                                             Tran. Code       $                        $

 01/31/13     {10}     Purdue University                Invoice # 981173                        1121-000              5,880.00                                          5,880.00
 01/31/13     {10}     360i LLC                         Invoice #981154 ($2,715.47) and         1121-000              7,052.45                                         12,932.45
                                                        #981198 ($4,336.98)
 02/28/13     {2}      SunTrust                         transfer of funds from closed           1129-000          25,994.07                                            38,926.52
                                                        account *********7270
 02/28/13              Rabobank, N.A.                   Bank and Technology Services            2600-000                                        14.88                  38,911.64
                                                        Fee
 03/25/13     {10}     DP II LLC                        Invoice #981183                         1121-000               174.68                                          39,086.32
 03/29/13              Rabobank, N.A.                   Bank and Technology Services            2600-000                                        49.14                  39,037.18
                                                        Fee
 04/23/13     101      Wells Fargo                      Payment to Secured Creditor per         4210-000                                  29,194.89                     9,842.29
                                                        order of 3/27/13, docket #33
 04/25/13     {10}     Denholtz 1776 LLC                Projects 850XX                          1121-000              1,000.80                                         10,843.09
 04/30/13              Rabobank, N.A.                   Bank and Technology Services            2600-000                                        60.08                  10,783.01
                                                        Fee
 05/01/13     102      Cecil McElroy                    Transfer of documents - per court       2990-000                                       495.00                  10,288.01
                                                        order docket #42
 05/01/13              Department of the Treasury       EFT for 945 Return for 2013. Per        8500-002                                      3,904.59                  6,383.42
                                                        Order, docket # 48. See funds
                                                        from UBS deposited on 5/29/13.
 05/03/13              Austion Management Corporation   Proceeds from auction - Per Order,                        57,540.50                                            63,923.92
                                                        Docket # 34.
                       Auction Management Corporation   Auctioneer Commission for Sale of       3610-000
                                                        Personal Property. Per Order, Dkt
                                                        # 52.
                                                                                -$3,332.50
                       Auction Management Corporation   Auctioneer Buyer's Premium for          8500-002
                                                        Sale of personal property. Paid per
                                                        Order, Dkt # 52.
                                                                                -$6,665.00
                       Auction Management Corp          Auctioneer Expenses for Sale of         3620-000
                                                        Personal Property. Per Order, Dkt
                                                        # 52.
                                                                                -$5,074.92
                       Auction Management Corp          Auctioneer Expenses for Sale of         3620-000
                                                        Van. Per Order, Dkt # 52.
                                                                                     -$702.08
                       Georgia Department of Revenue    Sales taxes collected and remitted      2820-000
                       by AMC                           by AMC. Paid per Order, Dkt # 52.
                                                                                -$3,571.84
              {12}     Auction Management Corporation   Sale of Personal Property at 400        1129-000
                                                        Colony Square. Sold per Order,
                                                        Dkt # 34.
                                                                                $58,550.00
              {11}     Auction Management Corporation   Sale of GMC Acadia. Per Order,          1129-000
                                                        Docket # 34.
                                                                                 $8,100.00
              {20}     Austion Management Corporation   Sales Taxes collected by AMC at         1290-000
                                                        auction. Per Order, Docket # 34.
                                                                                 $3,571.84




                                                                                          Page Subtotals:       $97,642.50             $33,718.58


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                   ! - transaction has not been cleared
                     Case 13-50728-jrs                Doc 116           Filed 01/09/20 Entered 01/09/20 15:45:57                                        Desc
                                                                           Page 18 of 24
                                                               Form 2                                                                                   Exhibit 9
                                                                                                                                                        Page: 2
                                               Cash Receipts And Disbursements Record
Case No.:              13-50728-JRS                                        Trustee Name:                       S. Gregory Hays (300320)
Case Name:             JOVA/DANIELS/BUSBY                                  Bank Name:                          Mechanics Bank
                       INCORPORATED                                        Account #:                          ******1766 Checking Account
Taxpayer ID #:         **-***1002                                          Blanket Bond (per case limit): $30,203,000.00
For Period Ending: 12/03/2019                                              Separate Bond (if applicable): N/A

    1          2                        3                                         4                                 5                       6                     7

  Trans.    Check or       Paid To / Received From          Description of Transaction            Uniform        Deposit              Disbursement       Account Balance
   Date      Ref. #                                                                              Tran. Code        $                        $

                       Auction Management Corporation    Buyers Premium paid to Trustee's         1180-000
                                                         auctioneer
                                                                                   $6,665.00
 05/10/13     103      Colony Square (Colony-Midtown),   Post-petition rent per Order (Dkt        2410-000                                  10,000.00                 53,923.92
                       LP                                #32)
 05/29/13     {10}     Kimball International             Invoice #981217                          1121-000               215.69                                       54,139.61
 05/29/13              UBS Financial Services Inc        Tax withdrawn from 401(k)                1280-000                41.92                                       54,181.53
                                                         distribution - Sara Singleton. See
                                                         payment to Dept of Treasury on
                                                         5/1/13.
 05/29/13              UBS Financial Services Inc        Tax withdrawn from 401(k)                1280-000               111.19                                       54,292.72
                                                         distribution - Katherine Lowrey.
                                                         See payment to Dept of Treasury
                                                         on 5/1/13.
 05/29/13              UBS Financial Services Inc        Tax withdrawn from 401(k)                1280-000               214.15                                       54,506.87
                                                         distribution - Melissa King. See
                                                         payment to Dept of Treasury on
                                                         5/1/13.
 05/29/13              UBS Financial Services Inc        Tax withdrawn from 401(k)                1280-000               223.28                                       54,730.15
                                                         distribution - Jessica Finnity. See
                                                         payment to Dept of Treasury on
                                                         5/1/13.
 05/29/13              UBS Financial Services Inc        Tax withdrawn from 401(k)                1280-000               502.18                                       55,232.33
                                                         distribution - Erin Petre. See
                                                         payment to Dept of Treasury on
                                                         5/1/13.
 05/29/13              UBS Financial Services Inc        Tax withdrawn from 401(k)                1280-000               644.25                                       55,876.58
                                                         distribution - Donna Hall-
                                                         McDowell. See payment to Dept
                                                         of Treasury on 5/1/13.
 05/29/13              UBS Financial Services Inc        Tax withdrawn from 401(k)                1280-000              2,167.62                                      58,044.20
                                                         distribution - Mark Bohrer. See
                                                         payment to Dept of Treasury on
                                                         5/1/13.
 05/30/13     {10}     Atlantic Capital Bank             Invoice #981227                          1121-000              1,583.96                                      59,628.16
 05/31/13              Rabobank, N.A.                    Bank and Technology Services             2600-000                                      82.61                 59,545.55
                                                         Fee
 06/05/13     {10}     Daniels Realty Services, LLC      Inv #981133                              1121-000              3,180.00                                      62,725.55
 06/12/13     {10}     Munich American Reassurance       Inv # 981203, 981202, 981204             1121-000          12,736.02                                         75,461.57
                       Company
 06/14/13     {10}     REIT Management & Research        Invoice #981152                          1121-000              2,559.96                                      78,021.53
 06/14/13     {3}      Royal Bank of Canada              Canadian currency - close bank           1129-000              6,867.23                                      84,888.76
                                                         account
 06/19/13     {10}     University of Guelph              Inv # 981162 - Canadian Currency         1121-000              1,527.11                                      86,415.87
 06/24/13     104      Wells Fargo Bank                  Payment to Secured Creditor per          4210-000                                  12,870.20                 73,545.67
                                                         order of 3/27/13, docket #33
 06/25/13     {10}     Accenture                         Invoice #JOVADA1583                      1121-000                15.83                                       73,561.50
 06/25/13     {10}     Payette                           Project # 120004, Invoice #              1121-000          10,620.00                                         84,181.50
                                                         980918
 06/28/13     {10}     Parkway Realty Services           Project # 12019, Invoice # 981157,       1121-000              2,625.89                                      86,807.39
                                                         981224
 06/28/13              Rabobank, N.A.                    Bank and Technology Services             2600-000                                      94.15                 86,713.24
                                                         Fee
 07/01/13     {3}      Royal Bank of Canada              Canadian currency - close bank           1129-000              6,308.66                                      93,021.90
                                                         account
 07/15/13     {10}     CBRE Global Investors             Project # 12022, Invoice 981191          1121-000              5,040.00                                      98,061.90

                                                                                             Page Subtotals:      $57,184.94             $23,046.96


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                     ! - transaction has not been cleared
                     Case 13-50728-jrs               Doc 116           Filed 01/09/20 Entered 01/09/20 15:45:57                                          Desc
                                                                          Page 19 of 24
                                                              Form 2                                                                                     Exhibit 9
                                                                                                                                                         Page: 3
                                              Cash Receipts And Disbursements Record
Case No.:              13-50728-JRS                                      Trustee Name:                       S. Gregory Hays (300320)
Case Name:             JOVA/DANIELS/BUSBY                                Bank Name:                          Mechanics Bank
                       INCORPORATED                                      Account #:                          ******1766 Checking Account
Taxpayer ID #:         **-***1002                                        Blanket Bond (per case limit): $30,203,000.00
For Period Ending: 12/03/2019                                            Separate Bond (if applicable): N/A

    1          2                        3                                        4                                5                       6                        7

  Trans.    Check or       Paid To / Received From          Description of Transaction          Uniform        Deposit              Disbursement          Account Balance
   Date      Ref. #                                                                            Tran. Code        $                        $

 07/25/13     {10}     University of Guelph              Inv # 981162- Canadian Currency-       1121-000              1,408.24                                         99,470.14
                                                         Deposit first received on 06/19/13
 07/25/13     {10}     University of Guelph              Reversed Deposit 100020 1 Inv #        1121-000          -1,527.11                                            97,943.03
                                                         981162 - Canadian Currency
 07/25/13     {3}      Royal Bank of Canada              Reversed Deposit 100019 1              1129-000          -6,867.23                                            91,075.80
                                                         Canadian currency - close bank
                                                         account
 07/26/13     105      Wells Fargo Bank                  Payment to Secured Creditor per        4210-000                                  10,981.03                    80,094.77
                                                         order of 3/27/13, docket #33
 07/31/13              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       139.39                  79,955.38
                                                         Fee
 08/30/13              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       118.16                  79,837.22
                                                         Fee
 09/17/13     106      Auction Management Corporation    Reimbursement of auction               3620-000                                       150.00                  79,687.22
                                                         expenses per court order docket
                                                         #52
 09/30/13              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       110.94                  79,576.28
                                                         Fee
 10/31/13              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       125.91                  79,450.37
                                                         Fee
 11/29/13              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       106.65                  79,343.72
                                                         Fee
 12/31/13              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       125.54                  79,218.18
                                                         Fee
 01/24/14     107      Wells Fargo                       Payment to Secured Creditor per        4210-000                                      5,576.44                 73,641.74
                                                         order of 3/27/13, docket #33
 01/31/14              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       117.74                  73,524.00
                                                         Fee
 02/28/14              Rabobank, N.A.                    Bank and Technology Services           2600-000                                        99.77                  73,424.23
                                                         Fee
 03/31/14              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       102.08                  73,322.15
                                                         Fee
 04/30/14              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       112.50                  73,209.65
                                                         Fee
 05/30/14              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       105.30                  73,104.35
                                                         Fee
 06/30/14              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       101.64                  73,002.71
                                                         Fee
 07/31/14              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       115.51                  72,887.20
                                                         Fee
 08/29/14              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       101.34                  72,785.86
                                                         Fee
 09/30/14              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       111.67                  72,674.19
                                                         Fee
 10/31/14              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       108.01                  72,566.18
                                                         Fee
 11/28/14              Rabobank, N.A.                    Bank and Technology Services           2600-000                                        93.93                  72,472.25
                                                         Fee
 12/12/14     {10}     Peachtree Road United Methodist   Accounts Receivavble settlement        1121-000          81,500.00                                          153,972.25
                       Church                            per order (Doc No. 66) entered on
                                                         1/20/15.
 12/31/14              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       176.75                153,795.50
                                                         Fee
 01/30/15              Rabobank, N.A.                    Bank and Technology Services           2600-000                                       221.21                153,574.29
                                                         Fee

                                                                                           Page Subtotals:      $74,513.90             $19,001.51


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                   ! - transaction has not been cleared
                     Case 13-50728-jrs                 Doc 116         Filed 01/09/20 Entered 01/09/20 15:45:57                                        Desc
                                                                          Page 20 of 24
                                                            Form 2                                                                                     Exhibit 9
                                                                                                                                                       Page: 4
                                            Cash Receipts And Disbursements Record
Case No.:              13-50728-JRS                                      Trustee Name:                       S. Gregory Hays (300320)
Case Name:             JOVA/DANIELS/BUSBY                                Bank Name:                          Mechanics Bank
                       INCORPORATED                                      Account #:                          ******1766 Checking Account
Taxpayer ID #:         **-***1002                                        Blanket Bond (per case limit): $30,203,000.00
For Period Ending: 12/03/2019                                            Separate Bond (if applicable): N/A

    1          2                        3                                        4                                5                       6                      7

  Trans.    Check or      Paid To / Received From           Description of Transaction          Uniform        Deposit              Disbursement        Account Balance
   Date      Ref. #                                                                            Tran. Code        $                        $

 02/24/15     108      Wells Fargo                       Payment to Secured Creditor per        4210-000                                  52,300.00                101,274.29
                                                         order of 3/27/13, docket #33
 02/27/15              Rabobank, N.A.                    Bank and Technology Services           2600-000                                      206.16               101,068.13
                                                         Fee
 03/31/15              Rabobank, N.A.                    Bank and Technology Services           2600-000                                      187.65               100,880.48
                                                         Fee
 04/30/15              Rabobank, N.A.                    Bank and Technology Services           2600-000                                      145.10               100,735.38
                                                         Fee
 05/29/15              Rabobank, N.A.                    Bank and Technology Services           2600-000                                      140.06               100,595.32
                                                         Fee
 06/02/15     {19}     JP Morgan Chase                   Avoidance Action settlement per        1241-000              9,058.43                                     109,653.75
                                                         order (Doc No. 72) entered on
                                                         5/27/15.
 06/15/15     {19}     Roy L Abernathy                   Avoidance Action settlement per        1241-000              5,000.00                                     114,653.75
                                                         order (Doc No. 72) entered on
                                                         5/27/15.
 06/15/15     {17}     Aetna Inc                         Avoidance Action settlement per        1241-000          14,000.00                                        128,653.75
                                                         order (Doc No. 76) entered on
                                                         6/26/15.
 06/19/15     {19}     American Express Travel Related   Avoidance Action settlement per        1241-000              4,417.22                                     133,070.97
                       Services Co Inc                   order (Doc No. 72) entered on
                                                         5/27/15.
 06/30/15              Rabobank, N.A.                    Bank and Technology Services           2600-000                                      180.51               132,890.46
                                                         Fee
 07/16/15     {18}     Citibank NA                       Settlement of preference claim.        1241-000          10,000.00                                        142,890.46
                                                         Per Order, Dkt # 85.
 07/31/15     109      James C. Frenzel, P.C.            Awarded Fees & Expenses. Per                                                     15,147.93                127,742.53
                                                         court order docket #80
                                                         Per court order docket 80              3210-000
                                                                                $15,000.00
                                                         Per court order docket 80              3220-000
                                                                                     $147.93
 07/31/15              Rabobank, N.A.                    Bank and Technology Services           2600-000                                      204.22               127,538.31
                                                         Fee
 08/31/15              Rabobank, N.A.                    Bank and Technology Services           2600-000                                      179.50               127,358.81
                                                         Fee
 09/22/15     {18}     Schreeder Wheeler & Flint LLP     Settlement of preference claim         1241-000              5,000.00                                     132,358.81
                                                         against Stanley Daniels. Per
                                                         Order, Dkt # 93.
 09/24/15     {16}     Travelers                         Settlement of preference claim.        1241-000              7,500.00                                     139,858.81
                                                         Per Order, Dkt # 87.
 09/30/15              Rabobank, N.A.                    Bank and Technology Services           2600-000                                      198.89               139,659.92
                                                         Fee
 10/12/15     {18}     Regions Bank                      Settlement of preference claim.        1241-000              6,250.00                                     145,909.92
                                                         Per Order, Dkt # 94.
 10/30/15              Rabobank, N.A.                    Bank and Technology Services           2600-000                                      205.67               145,704.25
                                                         Fees
 11/30/15              Rabobank, N.A.                    Bank and Technology Services           2600-000                                      202.58               145,501.67
                                                         Fees
 12/29/15     110      Arnall Golden Gregory LLP         Awarded fees & expenses. Per                                                     53,727.02                  91,774.65
                                                         court order docket #101
                       Arnall Golden Gregory LLP         Per court order docket #101            3210-000
                                                                                $53,495.92


                                                                                           Page Subtotals:      $61,225.65            $123,025.29


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                   ! - transaction has not been cleared
                    Case 13-50728-jrs                   Doc 116        Filed 01/09/20 Entered 01/09/20 15:45:57                                    Desc
                                                                          Page 21 of 24
                                                            Form 2                                                                                 Exhibit 9
                                                                                                                                                   Page: 5
                                            Cash Receipts And Disbursements Record
Case No.:              13-50728-JRS                                      Trustee Name:                      S. Gregory Hays (300320)
Case Name:             JOVA/DANIELS/BUSBY                                Bank Name:                         Mechanics Bank
                       INCORPORATED                                      Account #:                         ******1766 Checking Account
Taxpayer ID #:         **-***1002                                        Blanket Bond (per case limit): $30,203,000.00
For Period Ending: 12/03/2019                                            Separate Bond (if applicable): N/A

    1          2                        3                                        4                               5                    6                      7

  Trans.    Check or      Paid To / Received From           Description of Transaction          Uniform       Deposit           Disbursement        Account Balance
   Date      Ref. #                                                                            Tran. Code       $                     $

                       Arnall Golden Gregory LLP         Per court order, docket # 101         3220-000
                                                                                     $231.10
 12/30/15     111      Hays Financial Consulting, LLC    Awarded fees & expenses. Per                                                 65,323.93                  26,450.72
                                                         court order docket #101
                       Hays Financial Consulting, LLC    Per court order docket #101           3310-000
                                                                                $63,839.55
                       Hays Financial Consulting, LLC    Per court order docket #101           3320-000
                                                                                 $1,484.38
 12/30/15     112      S. Gregory Hays                   Paid in Error and refunded on         2100-000                               16,450.73                   9,999.99
                                                         2/1/16.
 12/31/15              Rabobank, N.A.                    Bank and Technology Services          2600-000                                   230.23                  9,769.76
                                                         Fees
 01/29/16              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    33.10                  9,736.66
                                                         Fees
 02/01/16              Hays Financial Consulting, LLC    Refund of payment of Trustee fees     2100-000                              -16,450.73                  26,187.39
                                                         made in error. Check # 112.
 03/01/16              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    33.16                 26,154.23
                                                         Fees
 03/31/16              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    41.27                 26,112.96
                                                         Fees
 04/29/16              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    36.20                 26,076.76
                                                         Fees
 05/31/16              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    36.15                 26,040.61
                                                         Fees
 06/30/16              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    41.09                 25,999.52
                                                         Fees
 07/29/16              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    36.04                 25,963.48
                                                         Fees
 08/31/16              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    40.96                 25,922.52
                                                         Fees
 09/30/16              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    37.18                 25,885.34
                                                         Fees
 10/31/16              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    35.89                 25,849.45
                                                         Fees
 11/30/16              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    39.55                 25,809.90
                                                         Fees
 12/30/16              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    37.02                 25,772.88
                                                         Fees
 01/31/17              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    39.53                 25,733.35
                                                         Fees
 02/28/17              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    34.54                 25,698.81
                                                         Fees
 03/31/17              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    38.19                 25,660.62
                                                         Fees
 04/28/17              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    34.44                 25,626.18
                                                         Fees
 05/31/17              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    40.54                 25,585.64
                                                         Fees
 06/30/17              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    36.80                 25,548.84
                                                         Fees
 07/31/17              Rabobank, N.A.                    Bank and Technology Services          2600-000                                    35.52                 25,513.32
                                                         Fees

                                                                                         Page Subtotals:             $0.00         $66,261.33


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                    Case 13-50728-jrs                   Doc 116        Filed 01/09/20 Entered 01/09/20 15:45:57                                      Desc
                                                                          Page 22 of 24
                                                            Form 2                                                                                   Exhibit 9
                                                                                                                                                     Page: 6
                                            Cash Receipts And Disbursements Record
Case No.:              13-50728-JRS                                      Trustee Name:                      S. Gregory Hays (300320)
Case Name:             JOVA/DANIELS/BUSBY                                Bank Name:                         Mechanics Bank
                       INCORPORATED                                      Account #:                         ******1766 Checking Account
Taxpayer ID #:         **-***1002                                        Blanket Bond (per case limit): $30,203,000.00
For Period Ending: 12/03/2019                                            Separate Bond (if applicable): N/A

    1          2                        3                                        4                               5                    6                        7

  Trans.    Check or      Paid To / Received From           Description of Transaction          Uniform       Deposit           Disbursement          Account Balance
   Date      Ref. #                                                                            Tran. Code       $                     $

 08/31/17              Rabobank, N.A.                    Bank and Technology Services          2600-000                                     40.36                  25,472.96
                                                         Fees
 09/29/17              Rabobank, N.A.                    Bank and Technology Services          2600-000                                     35.41                  25,437.55
                                                         Fees
 10/31/17              Rabobank, N.A.                    Bank and Technology Services          2600-000                                     39.02                  25,398.53
                                                         Fees
 11/30/17              Rabobank, N.A.                    Bank and Technology Services          2600-000                                     36.53                  25,362.00
                                                         Fees
 12/29/17              Rabobank, N.A.                    Bank and Technology Services          2600-000                                     35.26                  25,326.74
                                                         Fees
 01/31/18              Rabobank, N.A.                    Bank and Technology Services          2600-000                                     40.06                  25,286.68
                                                         Fees
 02/28/18              Rabobank, N.A.                    Bank and Technology Services          2600-000                                     33.94                  25,252.74
                                                         Fees
 03/30/18              Rabobank, N.A.                    Bank and Technology Services          2600-000                                     36.32                  25,216.42
                                                         Fees
 04/30/18              Rabobank, N.A.                    Bank and Technology Services          2600-000                                     35.06                  25,181.36
                                                         Fees
 05/31/18              Rabobank, N.A.                    Bank and Technology Services          2600-000                                     39.84                  25,141.52
                                                         Fees
 06/29/18              Rabobank, N.A.                    Bank and Technology Services          2600-000                                     34.95                  25,106.57
                                                         Fees
 07/31/18              Rabobank, N.A.                    Bank and Technology Services          2600-000                                     38.51                  25,068.06
                                                         Fees
 08/31/18              Rabobank, N.A.                    Bank and Technology Services          2600-000                                     37.25                  25,030.81
                                                         Fees
 09/28/18              Rabobank, N.A.                    Bank and Technology Services          2600-000                                     19.19                  25,011.62
                                                         Fees
 10/31/18              Rabobank, N.A.                    Bank and Technology Services          2600-000                                     22.61                  24,989.01
                                                         Fees
 11/13/19     113      S. Gregory Hays                   Trustee compensation & expenses                                              15,326.95                     9,662.06
                                                         paid per Order, Dkt # 114.
                       S. Gregory Hays                   Trustee compensation paid per         2100-000
                                                         Order, Dkt # 114.
                                                                                $14,796.89
                       S. Gregory Hays                   Trustee expenses paid per Order,      2200-000
                                                         Dkt # 114.
                                                                                     $530.06
 11/13/19     114      Hays Financial Consulting, LLC    Accountants fees & expenses paid                                                 6,513.20                  3,148.86
                                                         per Order, Dkt # 114.
                       Hays Financial Consulting, LLC    Accountants fees paid per Order,      3310-000
                                                         Dkt # 114.
                                                                                  $5,338.00
                       Hays Financial Consulting, LLC    Accountants expense paid per          3320-000
                                                         Order, Dkt # 114.
                                                                                  $1,175.20
 11/13/19     115      Arnall Golden Gregory LLP         Attorney fees & expenses paid per                                                2,196.91                   951.95
                                                         Order, Dkt # 114.
                       Arnall Golden Gregory LLP         Attorney fees paid per Order, Dkt #   3210-000
                                                         114.
                                                                                  $2,160.94



                                                                                         Page Subtotals:             $0.00         $24,561.37


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                    Case 13-50728-jrs                    Doc 116        Filed 01/09/20 Entered 01/09/20 15:45:57                                    Desc
                                                                           Page 23 of 24
                                                             Form 2                                                                                 Exhibit 9
                                                                                                                                                    Page: 7
                                             Cash Receipts And Disbursements Record
Case No.:              13-50728-JRS                                       Trustee Name:                    S. Gregory Hays (300320)
Case Name:             JOVA/DANIELS/BUSBY                                 Bank Name:                       Mechanics Bank
                       INCORPORATED                                       Account #:                       ******1766 Checking Account
Taxpayer ID #:         **-***1002                                         Blanket Bond (per case limit): $30,203,000.00
For Period Ending: 12/03/2019                                             Separate Bond (if applicable): N/A

    1          2                       3                                         4                              5                      6                      7

  Trans.    Check or       Paid To / Received From           Description of Transaction        Uniform       Deposit             Disbursement        Account Balance
   Date      Ref. #                                                                           Tran. Code       $                       $

                       Arnall Golden Gregory LLP          Attorney expenses paid per Order,   3220-000
                                                          Dkt # 114.
                                                                                     $35.97
 11/13/19     116      Clerk, United States Bankruptcy    Special Charges per Order Dkt #     2700-000                                     951.95                    0.00
                       Court                              110., Paid per TFR (Dkt No. 112)
                                                          and NFR (Dkt No. 113)

                                           COLUMN TOTALS                                                       290,566.99              290,566.99                 $0.00
                                                 Less: Bank Transfers/CDs                                              0.00                  0.00
                                           Subtotal                                                            290,566.99              290,566.99
                                                 Less: Payments to Debtors                                                                   0.00

                                           NET Receipts / Disbursements                                       $290,566.99            $290,566.99




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                ! - transaction has not been cleared
                   Case 13-50728-jrs              Doc 116      Filed 01/09/20 Entered 01/09/20 15:45:57                        Desc
                                                                  Page 24 of 24
                                                       Form 2                                                                   Exhibit 9
                                                                                                                                Page: 8
                                       Cash Receipts And Disbursements Record
Case No.:           13-50728-JRS                                Trustee Name:                   S. Gregory Hays (300320)
Case Name:          JOVA/DANIELS/BUSBY INCORPORATED             Bank Name:                      Mechanics Bank
Taxpayer ID #:      **-***1002                                  Account #:                      ******1766 Checking Account
For Period Ending: 12/03/2019                                   Blanket Bond (per case limit): $30,203,000.00
                                                                Separate Bond (if applicable): N/A

                                       Net Receipts:            $290,566.99
                           Plus Gross Adjustments:               $19,346.34
                         Less Payments to Debtor:                      $0.00
                 Less Other Noncompensable Items:                $10,569.59

                                         Net Estate:            $299,343.74




                                                                                                   NET                     ACCOUNT
                                 TOTAL - ALL ACCOUNTS                        NET DEPOSITS     DISBURSEMENTS                BALANCES
                                 ******1766 Checking Account                      $290,566.99        $290,566.99                   $0.00

                                                                                  $290,566.99             $290,566.99               $0.00




UST Form 101-7-TDR (10 /1/2010)
